         Case 2:19-cr-00133-APG-MDC          Document 14        Filed 05/21/19    Page 1 of 4




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 2   District of Nevada
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 6   Attorneys of the United States

 7                            UNITED STATES DISTRICT COURT
                                   DISTRICT OF NEVADA
 8
      United States of America,                           2:19-mj-316-CWH
 9
                            Plaintiff,                    Stipulation to Continue Preliminary
10                                                        Hearing (First request)
                  vs.
11
      Jose Guillermo Tello-Albarran,
12
                            Defendant.
13

14             It is stipulated and agreed, by and between Nicholas A. Trutanich, United States

15   Attorney; Kevin D. Schiff, Assistant United States Attorney, counsel for the United States

16   of America and Rebecca A. Levy, Assistant Federal Public Defender, counsel for defendant

17   Jose Guillermo Tello-Albarran;

18             That the Preliminary Hearing currently scheduled for May 21, 2019, be vacated

19   and continued seven days from the current setting.

20             1. Counsel for Defendant needs additional time to meet and confer with her

21                 client and to discuss the case, and is actively negotiating with the Government

22                 regarding case resolution.

23             2. Counsel for Defendant and the Government agree to the continuance.

24             3. Defendant is detained and agrees to the continuance.
         Case 2:19-cr-00133-APG-MDC            Document 14        Filed 05/21/19    Page 2 of 4




 1              5. Additionally, denial of this request for continuance could result in a

 2   miscarriage of justice.

 3              6. The additional time additional time requested by this Stipulation is excludable

 4   in computing the time from the filing of the criminal complaint through which the

 5   government must assert an criminal Information or seek an Indictment by the Grand Jury

 6   pursuant to the Speedy Trial Act, Title 18, United States Code Section 3161(h)(7)(A), when

 7   considering the factors under Title 18, United States Code, Sections 3161(h)(7)(B) and

 8   3161(h)(7)(B)(iv).

 9              7. This is the first request for a continuance.

10
                DATED this 20th day of May, 2019.
11
                                                 NICHOLAS A. TRUTANICH
12                                               United States Attorney

13                                                /s/ Kevin Schiff
                                                 Kevin Schiff
14                                               Assistant United States Attorney

15                                                /s/ Rebecca Levy
                                                 Rebecca A. Levy, AFPD.
16                                               Counsel for Defendant

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         Case 2:19-cr-00133-APG-MDC               Document 14      Filed 05/21/19    Page 3 of 4




 1                               UNITED STATES DISTRICT COURT
                                      DISTRICT OF NEVADA
 2
      United States of America,                              2:19-mj-316-CWH
 3
                                Plaintiff,               ORDER TO CONTINUE
 4                                                       PRELIMINARY HEARING (First
                   vs.                                   Request)
 5
      Jose Guillermo Tello-Albarran,
 6
                             Defendant.
 7
                                             I.        Findings of Fact
 8
            Based on the pending Stipulation of counsel, and good cause appearing therefore, the
 9
     Court finds that:
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            1. The period within which the government may assert an Information or seek an
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                 Indictment through the Grand Jury against the defendant is hereby extended from
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                 the date of the filing of the complaint up through and including May 27, 2019.
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            2. Both counsel for Defendant and counsel for the government agree to the
14
                 continuance.
15
            3. Defendant is detained and agree to the continuance.
16
            5. The additional time requested by this Stipulation is excludable in computing the
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     time within which the trial herein must commence pursuant to the Speedy Trial Act, Title
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     18, United States Code Section 3161(h)(7)(A), when considering the factors under Title 18,
19
     United States Code, Sections 3161(h)(7)(B) and 3161(h)(7)(B)(iv).
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            6.      This is the first request to continue the preliminary hearing.
21
            For all of the above-stated reasons, the end of justice would best be served by a
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     continuance of the preliminary hearing.
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                                                   3
     Case 2:19-cr-00133-APG-MDC        Document 14      Filed 05/21/19    Page 4 of 4




 1                                        II.   Order

 2   IT IS ORDERED that Preliminary Hearing currently scheduled for May 21, 2019, be

 3            vacated and continued to May 29, 2019 at the hour of 4:00 p.m.

 4

 5                                       IT IS SO ORDERED

 6                                       ________________________________
                                         THE HONORABLE CARL W. HOFFMAN
 7                                       UNITED STATES MAGISTRATE JUDGE

 8                                              May 21, 2019
                                         DATED:________________________
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